Case 3:14-cv-03088-MIN THE UNITED
                       Document   STATES
                                11-2      DISTRICT
                                      Filed 10/15/14COURT
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                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

DAVID TYLER MOSS and BRANDON               *
KEATING,                                   *
                                           *
       Plaintiffs,                         *
                                           *
V.                                         *                  Civil Action No.: 3:14-CV-3088-M
                                           *
MARKO PRINCIP, Individually doing business *
as VIDEOGAMES YOUTUBE CHANNEL doing *
business as ACHEIVEMENT GUIDE doing        *
business as GAME GUIDE LLC,                *
                                           *
       Defendants.                         *

   CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE

In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above-captioned
civil matter hereby waive their right to proceed before a United States District Judge and consent
to have a United States Magistrate Judge conduct any and all further proceedings in the case
(including the trial) and order the entry of a final judgment.

       Party or Counsel of Record (please designate)                         Date

_____________________________________________                  _______________________

_____________________________________________                 _______________________

NOTE: Return this form to the District Clerk only if it has been executed by all parties to the case.


                                ORDER OF REASSIGNMENT

         IT IS HEREBY ORDERED that the above-captioned matter be reassigned to
United States Magistrate Renee Harris Toliver for the conducting of all further proceedings and
the entry of judgment in accordance with 28 U.S.C. § 636(c) and the foregoing consent of the
parties.

DATED: _____________________                  ___________________________________
                                              UNITED STATES DISTRICT JUDGE
